Case 5:09-cv-00256-VAP-VBK Document 24 Filed 08/27/09 Page1lof4 Page ID#:218 ©

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
RIVERSIDE

STERLING DAVIS,
Plaintiff,

Vv.

NEW BREED LOGISTICS, INC., A
Business’ Entity, Form Presently

Unknown; BO LOUINSKY, an
Individual; and DOES 1-10, Inclusive,
Defendants.

Case No. EDCV09-00256 VAP (VBKx)

PROPOSED] ORDER
MANDING ACTION TO

STATE COURT
Trial Date: NONE SET

ORDER ON STIPULATION TO REMAND

Having read the accompanying stipulation by the parties to this action that the

damages sought by Plaintiff herein are below the jurisdictional limits of this court for

diversity cases, as set forth under 28 U.S.C. Section 1441, et seq., and good cause
appearing therefor, IT IS HEREBY ORDERED that this action is remanded to the

 

Davis v. New Breed Logistics, Inc., et al.
Case No. EDCV09-00256 VAP (VBKx)

[PROPOSED] ORDER REMANDING ACTION TO STATE COURT

 
Case 5°'09-cv-00256-VAP-VBK Document 24 Filed 08/27/09 Page 2 0f4 Page ID #:219

Superior Court for the State of California and County of San Bernardino, Case No.
CIVRS 900164, for all further proceedings.

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Davis v. New Breed Logistics, Inc., et al. [PROPOSED] ORDER REMANDING ACTION TO STATE COURT
Case No. EDCV09-00256 VAP (VBKx)

 

 
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BROWN & LIPINSKY
Attorneys At Law
5811 Pine Avenue, Suite A
Chino Hills, CA 91709

(909) 597-2445

 

PROOF OF SERVICE
STATE OF CALIFORNIA
COUNTY OF SAN BERNARDINO

Iam a citizen of the United States and employed in the County of San Bernardino.
I am over the age of eighteen years and not a party to the within action. My business
address is 5811 Pine Avenue, Suite A, Chino Hills, California 91709.

_On June 22, 2009, at Chino Hills, California, I served the foregoing document
described as:

[PROPOSED] ORDER REMANDING ACTION TO STATE COURT

on the interested parties in this action by placing a true copy thereof enclosed in a sealed
envelope addressed as follows:

SEE ATTACHED SERVICE LIST

X  BYU.S. MAIL I caused such envelope to be deposited in the mail, with postage

thereon fully prepaid, at Chino Hills, California. [I am "readily familiar" with this
law office’s practice of collection and processing correspondence for mailing. It
is deposited with the U.S. Postal Service on that same day in the ordinary course
of business. I am aware that on motion of the party served, service is presumed
invalid if the postal cancellation date or postage meter date is more than one (1)
day after the date of deposit for mailing in the affidavit. ]

BY PERSONAL SERVICE I personally delivered such envelope to the offices
of the addressee.

BY FEDERAL EXPRESS MAIL I personally delivered such envelope on ***
to a Federal Express drop box or office in Chino Hills, California, marked for

delivery on ***,

X BY FACSIMILE | transmitted a true copy of said document by facsimile
machine, pursuant to Rule 2005. The facsimile machine I used complied with
Rule 2003(3) and _no error was reported by the machine. Pursuant to Rule
2005(k), I caused the machine to print a transmission record of the transmission,
a copy of which is attached to this declaration. Said fax transmission(s) was/were
completed on the above date.

Ss.

I declare under penalty of perjury under the laws of the State of California that the
above is true and correct and that this declaration was executed on June 22, 2009, at
Chino Hills, California.

 

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[PROPOSED] ORDER REMANDING ACTION TO STATE COURT

 

 
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Chino Hills, CA 91709

(909) 597-2445

 

SERVICE LIST

Davis v. New Breed Logistics, Inc., et al.
U.S.D.C. Case No.: EDCV09-00256 VAP (VBKx)

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[PROPOSED] ORDER REMANDING ACTION TO STATE COURT

 
